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                        CA SE N O .l8-cr-8olzz-M iddlebrooksc raM on

 UN ITED STATES OF AM ER IC A ,
                                                                         FILEO hy             D.C.

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 A RM AN ABO V YAN ,
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                                                                                           MOR
                                                                                           ccmE
        D efendant.                                                         s.b.er'Fkâ.-w.ge.



      O RD ER G R AN TIN G DEFEN D AN T 'S U NO PPO SED M O TIO N TO A LLO W
  D EFEN D AN T TO TR AV EL O UT SID E TH E SO U TH E RN D ISTR ICT O F FLO R IDA
 FO R V ISITIN G FAM IL Y D UR IN G M O N TH S O F JU LY .A U G U ST AN D SEPTEM BER .
                                         2018 lDE 211
        TH IS C A USE is before the Court upon D efendant, A nnan Abovyan's U nopposed

 M otion to A llow Defendantto Traveloutside the Southem D istrictofFlorida forV isiting Fam ily

 Dlzring MonthsofJuly,Augustand September,2018 (DE 211(t$M otion'').The Courthaving
 reviewed said M otion,noting no objection from the Government,and being otherwise duly
 advised herein,itishereby:

        O RD ERED A ND A DJUD G ED that D efendant's U nopposed M otion to A llow

 Defendantto Traveloutside the Southern D istrictof Florida for V isiting Fam ily during M onths

 ofJuly,Augustand September,2018 (DE 21)isGRANTED. Defendantshallbepermittedto
 travel to the N aples, Sarasota, and Orlando in July, A ugust, and Septem ber of 2018 to visit

 family and friends.Seventy-two (72)hours before each trip,Defendantshallnotify Pretrial
 Servicesin writing ofhispreciseitinerary fortravel,includingtheaddresstes)wherehewillbe
 staying each day, who he w ill be staying w ith,and the phone num bers at w hich he can be

 contacted while in the M iddle D istrict ofFlorida.Defendant shallnotify PretrialServices of his
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 return to thisdistrictwithin twenty-four(24)hoursofeach return,and Defendantshallcomply
 with ordersofprobation w hile in the M iddle DistrictofFlorida.

        DO N E A ND O R DE RED in Cham bers at W estPalm Beach,Palm Beach County,in the
                                    1
 SouthernDistrictofFlorida,thisloD -'
                                    -dayofJuly,2018.
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                                                   UN ITED STA TES M A G ISTM TE JUD GE
